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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RONNIE STEWART, et al.,                   )
                                           )
                              Plaintiffs,  )
                                           )
            v.                             ) No. 1:18-cv-0152-JEB
                                           )
ALEX M. AZAR, et al.                      )
                                           )
                              Defendants. )
                                           )

                                JOINT STATUS REPORT

        In accordance with the Court’s minute order on August 30, 2018, plaintiffs Ronnie

Maurice Stewart, et al., federal defendants Alex M. Azar, et al., and intervenor-defendant the

Commonwealth of Kentucky (collectively, the “parties”) respectfully submit the following

joint status report.

    1. On July 19, 2018, in light of this Court’s remand order, the Centers for Medicare &

        Medicaid Services (“CMS”) opened another 30-day federal public comment period

        so that the public could submit comments regarding (1) Kentucky's original August

        24, 2016, demonstration project proposal under 42 U.S.C. § 1315; (2) Kentucky’s

        July 3, 2017, revised proposal; and (3) the special terms and conditions (“STCs”) that

        CMS approved on January 12, 2018, in connection with Kentucky’s proposals.

    2. The federal comment period closed on August 18, 2018.

    3. On November 20, 2018, CMS approved Kentucky HEALTH subject to certain

        limitations. See Kentucky HEALTH Approval Package, available at

        https://www.medicaid.gov/Medicaid-CHIP-Program-Information/By-

        Topics/Waivers/1115/downloads/ky/ky-health-ca.pdf (last accessed Dec. 12, 2018).




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   4. The parties proposed, and the Court granted, a briefing schedule in connection with

      Plaintiffs’ impending challenge to CMS’s November 20 approval. See Joint Motion

      for a Briefing Schedule, ECF No. 83; see also Dec. 6, 2018, Minute Order.

   5. In light of the Court’s order on the parties’ joint motion for a briefing schedule, the

      parties respectfully request that the Court enter a further order excusing them from

      filing monthly joint status reports. See Aug. 30, 2018, Minute Order (ordering the

      parties to submit joint status reports on the 15th of each month “until further Order

      of the Court”).



Dated: December 14, 2018                          Respectfully submitted,

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